Case 3:19-cv-10170-BRM-LHG Document 138 Filed 11/04/19 Page 1 of 5 PageID: 8681




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


                                              Case No. 19-cv-10170-BRM-LHG
  SANDOZ INC. and RAREGEN, LLC
                                              PLAINTIFFS’ SUPPLEMENTAL
                Plaintiffs,                   EVIDENCE IN SUPPORT OF
                                              THEIR MOTION FOR A
           v.                                 PRELIMINARY INJUNCTION
                                              Oral Argument Requested
  UNITED THERAPEUTICS CORP. and
  SMITHS MEDICAL ASD, INC.

                Defendants.



                                              Document electronically filed



       The Stipulated Amended Scheduling Order (“Order”) contemplates that after

 each side submits its pre-hearing brief, the Court will “set a hearing date for the []

 preliminary injunction motion at its earliest date after October 25, 2019.” ECF No.

 103, Paragraph 5a. In connection with that contemplated hearing, Paragraph 4a of

 the Order provides: “Plaintiffs may supplement their list of materials [in support of

 their position on the preliminary injunction] within seven days of receiving

 Defendants’ pre-hearing brief to include a limited number of exhibits or additional

 deposition testimony solely to rebut materials identified in Defendants’ pre-hearing

 brief.”
Case 3:19-cv-10170-BRM-LHG Document 138 Filed 11/04/19 Page 2 of 5 PageID: 8682




       Plaintiffs therefore respectfully submit the following points to supplement the

 record supporting their Motion for a Preliminary Injunction, ECF No. 106, and rebut

 the materials proffered by Defendants in support of their pre-hearing brief, ECF No.

 122. To avoid burdening the Court in advance of the hearing, Plaintiffs have not

 attempted to rebut every erroneous statement in Defendants’ pre-hearing brief, and

 Plaintiffs’ silence with respect to any particular statement should not be construed

 as a concession regarding its validity.

       1.     Appendix A identifies evidence to rebut materials proffered by

 Defendants in support of their pre-hearing brief.

       2.     Appendix B identifies Plaintiffs’ counter-designations to deposition

 testimony designated by Defendants in support of their pre-hearing brief.

       3.     For the convenience of the Court, Plaintiffs attach to this submission as

 Exhibits AAA–XXX excerpts of deposition transcripts that consolidate all of the

 parties’ designations and counter-designations in a single exhibit for each witness.

 Plaintiffs’ affirmative designations are highlighted in yellow; Defendants’

 affirmative designations are highlighted in blue; Defendants’ counter-designations

 are highlighted in green; and Plaintiffs’ counter-designations are highlighted in pink.

 Where there is overlap, multiple colors show in the left-hand margin next to the

 designated text.    The attached excerpts also correct errors in the deposition

 annotations offered by Defendants, which omitted certain designations made by


                                           2
Case 3:19-cv-10170-BRM-LHG Document 138 Filed 11/04/19 Page 3 of 5 PageID: 8683




 Plaintiffs, and in other instances, erroneously designated testimony that Plaintiffs

 did not designate in support of their Motion.

       4.     In their pre-hearing brief, Defendants asserted evidentiary objections to

 the materials Plaintiffs proffered in support of their Motion. Those objections are

 inappropriate and invalid. It is well-established that evidence that might otherwise

 be inadmissible may be considered by the Court when it rules on a motion for a

 preliminary injunction. See Kos Pharm., Inc. v. Andrx Corp., 369 F.3d 700, 718 (3d

 Cir. 2004) (holding that “a preliminary injunction is customarily granted on the basis

 of procedures that are less formal and evidence that is less complete than in a trial

 on the merits,” and that “[a]ffidavits and other hearsay materials are often received

 in preliminary injunction proceedings”); Startrak Sys., LLC v. Hester, 2007 WL

 2705159, at *8–9 (D.N.J. Sept. 13, 2007) (same); Commodity Futures Trading

 Comm’n v. Am. Metals Exch. Corp., 693 F. Supp. 168, 173 (D.N.J. 1988) (“I

 accepted all evidence mindful that hearsay materials and evidence other than live

 testimony are properly considered by the Court in preliminary injunction

 proceedings.”); RB ex rel. Parent v. Mastery Charter Sch., 762 F. Supp. 2d 745, 747

 (E.D. Pa. 2010) (“Courts have consistently held that the Federal Rules of Evidence

 do not apply at preliminary injunction hearings.”).




                                           3
Case 3:19-cv-10170-BRM-LHG Document 138 Filed 11/04/19 Page 4 of 5 PageID: 8684




 Dated: November 1, 2019       Respectfully Submitted,
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                                       4
Case 3:19-cv-10170-BRM-LHG Document 138 Filed 11/04/19 Page 5 of 5 PageID: 8685




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                                      5
